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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                  )
                                          )
                                          )    Case No. 1:04CR00056-016
                                          )
v.                                        )    OPINION AND ORDER
                                          )
KENNETH JOSEPH STEPHENS,                  )    By: James P. Jones
                                          )    Chief United States District Judge
             Defendant.                   )

      Thomas J. Bondurant, Jr., and Jennifer R. Bockhorst, Assistant United States
Attorneys, Roanoke and Abingdon, Virginia, for United States of America; Robert W.
Ritchie and Stephen Ross Johnson, Ritchie, Fels & Dillard, P.C., Knoxville,
Tennessee, for Defendant Kenneth Joseph Stephens.

      The defendant Kenneth Joseph Stephens has objected to the calculation of his

guideline range for sentencing purposes. This opinion supplements the rulings of the

court made at the conclusion of the hearing held on his objections.

      In this prosecution, dubbed “Operation Big Coon Dog” by the government,

sixteen defendants, including seven public officials or employees, have been

convicted of federal offenses primarily arising out of a bribery and bid-rigging

scheme to repair flood damage in Buchanan County, Virginia. As explained in the

presentence investigation report (“PSR”) prepared by a probation officer of this court,

and uncontested by the defendant:
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     While there are several instances of corruption involved in the conduct
     of the defendants, the majority of the criminal conduct in this case began
     following the “Hurley Flood of 2002” and some minor floods which
     occurred in the spring of 2003. Hurley, a small community in Buchanan
     County, Virginia, lies within the Knox District and the supervisor during
     the time frame of the illegal conduct was Stuart Ray Blankenship.

     After a series of heavy rains on May 2, 2002, Buchanan County was
     seriously flooded with damages totaling approximately 50 million
     dollars and the loss of two lives. The hardest hit area was near Hurley
     in the Knox district. This damage included the destruction of houses,
     businesses, roads and bridges. The subsequent cleanup work involved
     removing flood debris from the creeks so that they would not become
     obstructed and flood again; to rebuild damaged roads and bridges; and
     to demolish any unsafe structures.

     Within days of the flood, the Federal Emergency Management Agency
     (FEMA) began working with the Virginia Department of Emergency
     Management (VDEM) to establish a public assistance program to
     reimburse Buchanan County for damages caused by the flood. The
     process calls for the county to initially pay the contractors and apply to
     VDEM for reimbursement for a particular project. If VDEM approves
     the project, the application is sent to FEMA for approval, if FEMA
     approves the project, the federal agency pays 75% of the cost to VDEM,
     who adds 23% of the cost and wires the funds to the county. The county
     is responsible for the final 2% of the cost, which was offset by a
     handling/management fee of 2% paid to the county. In relation to the
     Hurley flood its’ agencies submitted 71 projects totaling approximately
     $5 million which was approved by VDEM and FEMA. The county
     disbursed an additional approximate amount of $2.1 million that has not
     yet been reimbursed by VDEM or FEMA. Therefore, the transactions
     involved in the instant offenses total approximately $7.1 million.

     Initially FEMA and VDEM contracted with the Army Corps of
     Engineers, who subcontracted with Disaster Recovery Contractors
     (DRC) of New Orleans for debris removal from the creeks. County
     officials, led by Stuart Ray Blankenship, accused DRC of padding its

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     tonnage of debris removal by randomly digging and hauling off dirt and
     rocks, rather than removing destructive debris from the creeks. In
     addition, the county officials were upset that DRC was not hiring local
     contractors. By June 2002, FEMA agreed with the county, refused to
     pay DRC a $500,000 payment, and turned over cleanup operations to
     county officials. However, by the time DRC was relieved of duties on
     June 21, 2002, it had received payments of approximately $3.2 million.

     After the county became authorized to award contracts for cleanup
     operations, bridge repairs, construction and demolition, FEMA approved
     project applications if they were “reasonable” and the process of
     awarding a contract “complied with state law.” The county board of
     supervisors decided that the supervisor of each district could unilaterally
     award contracts in that district for emergency work and could accept low
     bids of three contractors/participants in non-emergency work. However,
     the distinction between emergency and non-emergency work was not
     clear. In addition, the bidding process was not open, as the supervisor
     could choose which three contractors were to bid on a certain project.
     This process opened the door to bribes and bid-rigging. Supervisor
     Stuart Ray Blankenship of the Knox district accepted cash, expensive
     coon dogs, the construction of a coon dog kennel, a dog box for his
     truck, a motor, motor vehicles, ATVs, clothing, food, vacations, and a
     firearm to influence the awarding of contracts. Supervisor James Ralph
     “Pete” Stiltner, Jr., of the Rock Lick district accepted cash, favorable
     land transactions, favorable equipment transactions, clothing and a large
     screen TV to entice the awarding of contracts and cover-up illegal
     activities. County Coal Road Engineer Kenneth Morris Hale accepted
     cash and assisted Stuart Ray Blankenship obtain a motor. County
     Emergency Coordinator David Mathias Thompson accepted cash and
     clothing for rendering aid in the awarding of contracts. FEMA
     employee Gary Ray Moore accepted cash, a firearm, NASCAR tickets,
     football tickets, tires and construction materials to induce FEMA to keep
     the flow of federal money unimpeded and to “look the other way.”
     County Road Inspector Ricky Allen Adkins was allowed to submit
     falsified expense and time records because he fed the coon dogs and
     cleaned out the kennels belonging to Stuart Ray Blankenship, as well as
     mowing his lawn and bringing him lunch. The remaining defendants are

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      the contractors who paid the bribes and rigged the bids. The specific
      details are as follows.

      On May 6, 2002, Stuart Ray Blankenship approached Kenneth Joseph
      Stephens and told him “the FEMA money is coming” and that Stephens
      will “make more money than you will ever see” if Blankenship’s charge
      accounts at the Stephens’ owned Vansant Lumber Store were forgiven.
      The Vansant Lumber ledger reflected that approximately $2,000 was
      removed from Blankenship’s account. From this point on, Stephens
      paid a series of bribes totaling approximately $124,577.83 to
      Blankenship in order to receive Hurley flood contracts in the
      approximate amount of $2.28 million. The bribes include approximately
      $71,000 in cash that Stephens hand delivered to Blankenship from June
      2002 until February 2003; Stephens purchased a $2,300 coon dog for
      Blankenship on December 10, 2003; a $5,500 coon dog on January 3,
      2003; and a $5,000 coon dog on February 18, 2003. Stephens spent an
      unknown amount of money to construct a coon dog kennel for
      Blankenship during the summer of 2002 and used his VISA charge card
      to finance Blankenship’s vacations to national coon dog hunting events
      in Duncan, Oklahoma, and Murray, Kentucky, in the amount of
      approximately $2,600. On September 25, 2002, Stephens bought
      Blankenship an ATV for approximately $6,800, and on December 31,
      2002, Stephens bought Blankenship a $17,600 Ford Ranger pickup.
      Although Stephens kept the truck titled in his name for tax deductions
      purposes, Blankenship had full use of the truck and used it often for his
      coon dog activities. In May 2002, Blankenship requested that Stephens
      buy a motor for Blankenship’s personal truck, and Stephens paid
      $2,014.76 for the motor. In January 2003, Stephens gave Blankenship
      a .38 caliber Smith and Wesson Bodyguard revolver, for which he paid
      approximately $500.

(PSR §§ 84-89.)

      A multicount indictment was returned against the defendants on June 23, 2004.

On September 2, 2004, defendant Stephens pleaded guilty to Count One, charging a



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violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18

U.S.C.A. § 1962(c) (West 2000) and Count Twenty-Five, conspiracy to commit

money laundering, 18 U.S.C.A. § 1956(h) (West Supp. 2005). The court accepted the

defendant’s plea and directed the preparation of a PSR. In the PSR, the probation

officer determined that the defendant’s offense level should be calculated pursuant

to United States Sentencing Guidelines Manual (“USSG”) § 2S1.1(a)(2) (2004),

relating to money laundering, and using the total value of the laundered funds of $3.2

million. Calculated thus, the defendant’s Base Offense Level is 26, together with an

enhancement because of his conviction under 18 U.S.C.A. § 1956. See USSG

§ 2S1.1(b)(2)(B) (2004). His Total Offense Level is 28, and with a Criminal History

Category of I, that translates into an imprisonment range of 78 to 97 months.

       The defendant objects to the use of USSG § 2S1.1(a)(2) to calculate his offense

level. He contends that his offense level should be determined using the 2002

guideline for bribery of a public official, USSG § 2C1.1 (2002).1 According to him,




       1
          The 2002 version of the Guidelines Manuel is suggested because the offense
conduct here took place in 2002 prior to the effective date of the 2004 Manual and an
increase in the applicable levels is contained in the latter version of this guideline. See USSG
App. C, amend. 666 (Nov. 1, 2004). The version of the Guideline Manuel in effect as of the
date of sentencing is to be used, unless it would violate the Ex Post Facto Clause. See USSG
§ 1B1.11(b)(1) (2004).

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this would produce a Total Offense Level of 24, with a sentencing range of 51 to 63

months.

      In United States v. Booker, 125 S.Ct. 738, 767 (2005), the Supreme Court held

that the Sentencing Guidelines are not mandatory, although a sentencing court is still

obligated to “consult those Guidelines and take them into account,” along with the

sentencing factors set forth in 18 U.S.C.A. § 3553(a) (West 2000 & Supp. 2005).

Accordingly, at least in this circuit, a sentencing court must “first calculate (after

making appropriate findings of fact) the range prescribed by the guidelines. Then,

the court shall consider that range as well as other relevant factors set forth in the

guidelines and those factors set forth in § 3553(a) before imposing the sentence.”

United States v. Hughes, 401 F.3d 540, 546 (4th Cir. 2005) (citations omitted).

      The parties agree that in order to calculate the proper offense level, the court

must first look to the money laundering guideline, § 2S1.1. That guideline offers two

successive alternatives in order to determine the Base Offense Level: (1) the offense

level for the underlying offense from which the laundered funds were derived if the

offense level for that offense can be determined; or otherwise (2) eight levels plus the

number of offense levels from the theft, property destruction, and fraud table

corresponding to the laundered funds. USSG § 2S1.1(a) (2004). The commentary




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to this guideline provides that alternative (2) applies to any case in which “the offense

level for the underlying offense is impossible or impracticable to determine.” USSG

§ 2S1.1, cmt. n.3(A).

      The underlying offenses for the defendant’s money laundering conduct are

bribery and wire fraud. The guidelines for both offenses require a determination of

the loss to the government from the defendant’s conduct. See USSG §§ 2B1.1(b)

(2004), 2C1.1(b)(2) (2002). As shown by the evidence in this case, the loss to the

government in this wide-ranging scheme cannot practically be determined. The

bribery of those who accepted the bids for the work permitted the cost of the work to

be essentially unregulated. Because of the nature of most of the work, it is now

impracticable, if not impossible, to determine in hindsight what the work would have

cost the government had the illegal and fraudulent bids not been accepted. There is

ample evidence that the cost was excessive, but no realistic way to even estimate the

excess.

      For these reasons, it is ORDERED that the defendant’s objection to the PSR

is denied.2




      2
         The government has moved for a downward departure from the guideline range
based on the defendant’s assistance in the prosecution. See USSG § 5K1.1 (2004). I have
granted that motion, but I have not determined the appropriate extent of the departure.

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                                          ENTER: July 13, 2005

                                          /s/ JAMES P. JONES
                                          Chief United States District Judge




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